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               UNITED STATES DISTRICT COURT
                                        for the
                              Eastern District of Louisiana


                                           )
HIRAN RODRIGUEZ
_____________________________________ )         CIVIL ACTION NO. 25-197

               Plaintiff(s)                     SECTION: “A” (2)

                                                JUDGE JAY C. ZAINEY

                  v.                       )    MAG. JUDGE DONNA PHILLIPS CURRAULT

                                           )

META PLATFORMS, INC., ET AL,
________________________________________ )

              Defendant(s)

                                           )




       PLAINTIFF’S MOTION REQUESTING AN EVIDENTIARY HEARING
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NOW INTO COURT, comes Plaintiff, Hiran Rodriguez, appearing pro se and in forma

pauperis, who respectfully moves this Honorable Court to convene an evidentiary hearing in

connection with Plaintiff’s Emergency Motion for Protective Order and Injunctive Relief. This

request is made pursuant to the Court’s Order dated March 20, 2025, referring the motion to

Magistrate Judge Donna Phillips Currault for findings and recommendations—“with an

evidentiary hearing if necessary.”




I. INTRODUCTION




Plaintiff submits that an evidentiary hearing is not only necessary but essential to preserve due

process, assess the scope of ongoing harm, and evaluate the appearance of judicial partiality that

now casts doubt upon the fairness of these proceedings. The hearing is critical to resolving the

following:


• Whether early discovery is justified due to continued harassment and evidence suppression;


• Whether Defendants have engaged in coordinated delay tactics or obstruction;


• Whether judicial conduct—including the stay issued shortly after Plaintiff’s discovery

request—suggests an appearance of partiality that undermines public confidence in the judiciary.




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II. LEGAL GROUNDS FOR AN EVIDENTIARY HEARING




A federal district court has broad discretion to hold evidentiary hearings where factual disputes

are material and cannot be resolved on the papers. See Fed. R. Civ. P. 43(c); United States v.

Raddatz, 447 U.S. 667, 680 (1980). Where, as here, a pro se litigant has submitted substantial

allegations of ongoing harm, due process violations, and evidence suppression, the Court must

afford an opportunity for the record to be developed. See Johnson v. City of Shelby, 574 U.S.

10, 12 (2014).




III. GROUNDS IN SUPPORT OF REQUEST




A. Ongoing and Escalating Harm


Plaintiff continues to experience severe harassment—including stalking, digital interference, and

coordinated noise intimidation. These actions are directly tied to named Defendants and continue

to this day. Without evidentiary development, the Court risks dismissing these claims without a

proper factual record.




B. Plaintiff’s Jury Trial Demand Prohibits Premature Adjudication




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Plaintiff has invoked his constitutional right to a jury trial under Rule 38, and this Court must not

act as a fact-finder on issues reserved for the jury. Allegations involving digital suppression,


coordinated retaliation, and institutional misconduct require full discovery and factual

examination by a jury—not dismissal at the pleading stage.




C. Defendants’ Delay Tactics and Bad Faith


On March 20, 2025, Plaintiff submitted an informal discovery request to all counsel under Rule

26(d). Within hours, the Court entered a stay, which—whether intentional or not—has the effect

of shielding Defendants from even voluntary compliance. This sudden procedural posture, paired

with Defendants’ silence, raises legitimate concerns of obstruction and collusion.




D. Appearance of Judicial Bias


Plaintiff has previously moved to recuse Judge Jay C. Zainey (Rec. Doc. 91). The Court’s denial

of that motion, coupled with the immediate and sweeping dismissal of all of Plaintiff’s pending

motions, contributes to an appearance of bias. When a judge’s actions repeatedly favor one side,

and deny a litigant the opportunity to present evidence, the public’s confidence in a fair process

is eroded. This must be addressed on the record through evidentiary proceedings.




IV. REQUEST FOR RELIEF


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For these reasons, Plaintiff respectfully requests that the Court:


1. Schedule an Evidentiary Hearing to determine:


• Whether early discovery is necessary;


• Whether Defendants or the Court have engaged in procedural obstruction or delay;


• Whether continued judicial involvement compromises the integrity of this proceeding.


2. Permit Plaintiff to introduce documentary evidence — including video recordings —

sworn declarations, and testimony in support of his claims;


3. Direct all Defendants who have appeared to preserve all relevant evidence,, including

digital communications, moderation logs, surveillance records, and internal documents.




RESERVATION OF RIGHTS




Plaintiff reiterates his objection to the denial of Rec. Doc. 91 (Motion to Recuse) and

preserves his objection to Judge Zainey’s continued involvement in this matter, as required to

maintain the right to appeal.




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Respectfully Submitted,




/s/ Hiran Rodriguez


Hiran Rodriguez


Pro Se Plaintiff


820 Grove Ave, Metairie, LA 70003


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Dated: March 22, 2025




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                               CERTIFICATE OF SERVICE



I, Hiran Rodriguez, Plaintiff pro se, hereby certify that on March 22, 2025, I electronically

submitted the following documents through the Electronic Document Submission System

(EDSS) of the United States District Court for the Eastern District of Louisiana:


   -   Plaintiff’s Motion Requesting an Evidentiary Hearing

   -   Any other related filings submitted concurrently


Pursuant to Local Rule 5.4 and the Federal Rules of Civil Procedure, notice of this filing will

be electronically served via CM/ECF to all counsel of record who have made an appearance

in this case. For those defendants who have not yet made an appearance, I further certify

that they are currently in the process of being served by the United States Marshal Service

in accordance with Federal Rule of Civil Procedure 4(c)(3).




Respectfully submitted,




/s/ Hiran Rodriguez


Hiran Rodriguez


Pro Se Plaintiff


820 Grove Ave, Metairie, Louisiana, 70003-7024.


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Date: March 22, 2025




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Stacy Pecoraro

From;                              Do Not Reply <do_not_reply@laed.uscourts.gov>
Sent:                              Saturday, March 22, 2025 10:03 PM
To:                                LAEDmLPro Se
Subject:                           New EDSS Filing Submitted




Greetings Pro Se Desk,

A new EDSS filing has been submitted through the portal. The filing was submitted on Saturday, March 22
2025 - 22:02.

The information for this submission is:


Filer's Name: Hiran Rodriguez

Filer's Email: hiranrodriguez@outlook.com

Filer's Mailing Address: 820 Grove Ave, Metairie, Louisiana, 70003-7024

Filer's Phone Number: 504-203-8459


Filer's Case Number (If Known): 2:25-cv-00197-JCZ-DPC

Filer's Case Name (If Known): Rodriguez v. Meta Platforms, Inc., et al

Submitted Document Description: Plaintiff’s Motion Requesting an Evidentiary Hearing

Submitted Document Name: Plaintiffs Motion Requesting an Evidentiary Hearing .pdf




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